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         IN THE UNITED STATES COURT OF APPEALS
          FOR THE DISTRICT OF COLUMBIA CIRCUIT
_________________________________________
                                          )
TIKTOK INC.,                              )
                                          )
and                                       )
                                          )
BYTEDANCE LTD.,                           )
                                          )
                           Petitioners,   )
                                          )
     v.                                   ) No. 24-1113
                                          )
MERRICK B. GARLAND, in his official       )
capacity as Attorney                      )
General of the United States,             )
                                          )
                           Respondent.    )
                                          )
                                          )
BRIAN FIREBAUGH, CHLOE JOY                )
SEXTON, TALIA CADET, TIMOTHY              )
MARTIN, KIERA SPANN, PAUL TRAN,           )
CHRISTOPHER TOWNSEND,                     )
and STEVEN KING,                          )
                                          )
                           Petitioners,   )
                                          )
     v.                                   ) No. 24-1130
                                          )
MERRICK B. GARLAND, in his                )
capacity as United States Attorney        )
General,                                  )
                                          )
                           Respondent.    )
                                          )
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 JOINT MOTION FOR THE COURT TO ADOPT PROCEDURES
GOVERNING THESE ORIGINAL ACTIONS, GRANT EXPEDITED
     CONSIDERATION, AND SET BRIEFING AND ORAL
ARGUMENT SCHEDULE AND TO EXPEDITE CONSIDERATION
                  OF THIS MOTION

     This motion is filed jointly by the petitioners in TikTok Inc. v

Garland, No. 24-1113 (“TikTok Petitioners”), the petitioners in

Firebaugh v. Garland, No. 24-1130 (“Creator Petitioners”) (collectively,

“Petitioners”), and Respondent Merrick B. Garland.                The parties

respectfully ask the Court to adopt procedures to govern these original

actions, grant expedited consideration, and set a briefing and argument

schedule.   In light of the considerations described below warranting

expedited consideration of these actions, the parties also respectfully

request that the Court expedite consideration of the present motion and

resolve it by May 31, 2024.

                              BACKGROUND

     On April 24, 2024, the President signed into law the Protecting

Americans from Foreign Adversary Controlled Applications Act (H.R.

815, div. H, 118th Cong., Pub. L. No. 118-50 (April 24, 2024)) (the “Act”).

The Act confers on this Court “exclusive jurisdiction over any challenge

to this Act or any action, finding, or determination under this Act,” and


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provides that “[a] petition for review challenging this Act or any action,

finding, or determination under this Act may be filed only in” this Court.

See Sec. 3(a)–(b). Petitions for review challenging the constitutionality

of the Act pursuant to Section 3 were filed on May 7, 2024 by TikTok

Petitioners and on May 14, 2024 by Creator Petitioners. On May 15,

2024, the Court issued an order on its own motion consolidating the two

actions.

     Beginning 270 days after enactment, i.e., on January 19, 2025, the

Act makes it unlawful for any entity to distribute, maintain, or update

the TikTok platform, unless a “qualified divestiture” as defined in the Act

has been executed. Petitioners claim that the Act effects a ban on TikTok

and violates the First Amendment. TikTok Petitioners also claim that

the Act violates the Bill of Attainder Clause, the equal protection

component of the Fifth Amendment’s Due Process Clause, and the Fifth

Amendment’s Takings Clause.

                              ARGUMENT

     A.    Procedures Governing These Actions

     The Federal Rules of Civil Procedure by their terms do not govern

these original actions because these cases are not “proceedings in the


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United States district courts.” Fed. R. Civ. P. 1. Nor do the Federal Rules

of Appellate Procedure provide clear guidance on the procedures

applicable to these actions, because these cases are not appeals from a

judgment or order of a district court, see Fed. R. App. P. tit. II; petitions

for review of an order of an administrative agency, board, commission, or

officer, see id. tit. IV; or any other type of proceeding expressly

contemplated by the rules. The parties therefore respectfully request

that this Court enter an order establishing the procedures that will

govern these original actions.

     In a previous case in which Congress vested this Court with original

jurisdiction over a constitutional challenge to an act of Congress, this

Court entered a procedural order providing as follows: “The court will

not entertain dispositive motions. The parties should therefore address

in their briefs any arguments otherwise properly raised in such motions.”

Order at 2, Coal. for Fair Lumber Imports v. United States, No. 05-1366

(D.C. Cir. Nov. 29, 2005). The Court further adopted a briefing schedule

commencing with a merits brief by the petitioners and directed that “[t]he

form and contents of the briefs will be governed by Federal Rules of




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Appellate Procedure 28 and 32, and the corresponding Circuit Rules.” Id.

at 1–2.

      In the parties’ view, a similar procedure is appropriate here. The

parties accordingly propose that they brief this action on the merits

consistent with Federal Rules of Appellate Procedure 28 and 32 and the

corresponding Circuit rules, with the parties to include in their briefs any

requests for relief.

      Because there is no district court or agency record, Rule 30 and the

corresponding Circuit rule governing a joint appendix are not applicable.

The parties intend to append evidentiary material to their briefs. In

addition, the government informs the Court that it is evaluating the need

to file an ex parte evidentiary submission (containing, for example,

classified material to support the national security justifications

underlying the challenged statute) with its response brief and the need

to rely on such information in a classified, ex parte version of the

government’s brief. The government will file the public version and any

classified version of its brief by the deadline set by the Court. Petitioners

state in response that they reserve their right to object to, or otherwise




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seek relief with respect to, any such classified, ex parte submission if it is

made.

      The parties do not at this stage anticipate a need for discovery in

these actions, but they reserve their right to seek discovery if warranted

at a later date.

      B.    Expedited Consideration of These Actions

      The parties respectfully request that the Court expedite briefing,

argument, and decision in this case.        The Circuit Handbook directs

parties moving for expedited consideration to “demonstrate that the

delay will cause irreparable injury and that the decision under review is

subject to substantial challenge.” D.C. Cir. Handbook of Practice and

Internal Procedures VIII.B. It also notes that expedited consideration

may be warranted if “the public generally, or . . . persons not before the

Court, have an unusual interest in prompt disposition.” Id. These cases

satisfy all three criteria.

      First, Petitioners argue that prompt consideration of these cases is

needed to avoid irreparable harm. The Act’s prohibition on hosting or

distributing TikTok and other ByteDance applications within the United

States, unless there is a “qualified divestiture,” begins to apply on


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January 19, 2025, 270 days after enactment. See Sec. 2(a)(2)(A). As

outlined in their Petition for Review, TikTok Petitioners argue that a

“qualified divestiture” of TikTok as defined in the statute is not

commercially, technologically, or legally feasible.* TikTok Petitioners

further argue that they face irreparable harm from a ban of the TikTok

platform in the United States. See Wisconsin Gas Co. v. FERC, 758 F.2d

669, 674 (D.C. Cir. 1985) (recognizing irreparable harm “where the loss

threatens the very existence of the movant’s business”). And the Creator

Petitioners likewise contend they will suffer irreparable harm because

the Act violates their First Amendment right to create, share, and receive

content through their chosen platform, TikTok. See Elrod v. Burns, 427

U.S. 347, 373 (1976) (loss of First Amendment freedoms “unquestionably

constitutes irreparable injury”).

     Second, Petitioners maintain that the Act is subject to substantial

challenge for the reasons set forth in their petitions.




* TikTok Petitioners maintain that the possibility of a 90-day extension

under the Act will not be available to them because it would require the
President to determine that “significant progress” has been made toward
a “qualified divestiture” which is not feasible. Sec. 2(a)(3).
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     Third, in light of the large number of users of the TikTok platform,

the public at large has a significant interest in the prompt disposition of

this matter.

     At this time, Petitioners believe that if the Court grants expedited

consideration and adopts a schedule similar to the one proposed below,

these actions can be resolved on the merits without the need for a request

for emergency preliminary injunctive relief. Petitioners reserve the right

to move for such relief if doing so becomes necessary to avoid irreparable

harm prior to this Court’s decision on the merits.

     C.    Proposed Briefing Format

     TikTok Petitioners and Creator Petitioners propose to file separate

briefs. Petitioners’ position is that this Court’s practice favoring joint

briefs, where feasible, “in consolidated or joint appeals,” should not be

applied to these original actions, which will be Petitioners’ first

opportunity in any forum to present significant constitutional arguments

with profound consequences for each of them. D.C. Cir. Handbook of

Practice and Internal Procedures IX.A.2 (emphasis added). Petitioners’

position is that separate briefs are also necessary and appropriate given




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the differing injuries and legal arguments asserted by TikTok Petitioners

and Creator Petitioners.

     The government takes no position on Petitioners’ request to file

separate sets of full-length briefs. The government intends to file a single

consolidated response brief even if petitioners file separate briefs. For

that single brief, the government requests the greater of 13,000 words or

75% of the combined word limits for petitioners’ opening briefs.

     D.    Proposed Schedule

     To ensure that there is adequate time before the Act’s prohibitions

take effect to request emergency relief from the Supreme Court if

necessary, the parties respectfully ask this Court to issue its decision on

the merits of these actions by December 6, 2024. To enable the Court to

issue a decision by that date or sooner, the parties respectfully propose

the following briefing schedule:

     ● Opening brief for TikTok Petitioners – June 20, 2024

     ● Opening brief for Creator Petitioners – June 20, 2024

     ● Amicus curiae briefs in support of Petitioners or in support of
       neither party – June 27, 2024

     ● Consolidated answering brief for Respondent – July 26, 2024

     ● Amicus curiae briefs in support of Respondent – August 2, 2024

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      ● Reply brief for TikTok Petitioners – August 15, 2024

      ● Reply brief for Creator Petitioners – August 15, 2024

      The parties further respectfully request that oral argument be

calendared for a date as early as practicable in the Court’s September

2024 sitting.




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DATED: May 17, 2024                      Respectfully submitted,

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                   CERTIFICATE OF COMPLIANCE

      This motion complies with the type-volume limitation of Federal

Rule of Appellate Procedure 27(d)(2)(A) because it contains 1,540 words,

excluding the parts of the motion exempted by Federal Rule of Appellate

Procedure 32(f).

      This motion complies with the typeface requirements of Federal

Rule of Appellate Procedure 32(a)(5) and the type style requirements of

Federal Rule of Appellate Procedure 32(a)(6) because it has been

prepared in a proportionally spaced typeface using Microsoft Word in 14-

point, Century Schoolbook font.



DATED: May 17, 2024                  Respectfully submitted,


                                    /s/ Alexander A. Berengaut
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                      CERTIFICATE OF SERVICE

        I hereby certify that I electronically filed the foregoing with the

Clerk of the Court for the United States Court of Appeals for the District

of Columbia Circuit by using the appellate CM/ECF system on May 17,

2024.

        I certify that all participants in the case are registered CM/ECF

users and that service will be accomplished by the appellate CM/ECF

system.



DATED: May 17, 2024                    Respectfully submitted,


                                       /s/ Alexander A. Berengaut
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